      Case 4:20-cv-00275-SMR-SBJ Document 58 Filed 03/23/22 Page 1 of 3



                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF IOWA

BROOKE CHAMPAGNE and MARICO
THOMAS,                                        Case No. 4:20-cv-00275-SMR-SBJ

                    Plaintiffs,
      v.                                       PLAINTIFFS’ MOTION FOR LEAVE
                                               TO FILE ADDITIONAL MATERIAL
LINEBARGER GOGGAN BLAIR &                      UNDER SEAL
SAMPSON, LLP,

                    Defendant.


      In accordance with Rule 5(c) of the Local Federal Rules of Civil Procedure,

Plaintiffs respectfully move for leave to file under seal certain additional materials

in support of their motion for attorneys’ fees and costs. Specifically, Plaintiffs seek

leave to file redacted versions of (1) the Reply Brief in Support of Plaintiffs’

Motion for Attorneys’ Fees and Costs, and (2) the Supplemental Declaration of

Alex Kornya in Support of Plaintiffs’ Motion for Attorneys’ Fees and Costs.

      As the Court will recognize after reviewing the unredacted version of the

Settlement Agreement and Release filed under seal as an exhibit to the original

brief in support of the Plaintiff’s motion for attorney fees, the parties agree that a

specific term of the settlement shall remain confidential. The parties also agree

they will not publicly disclose any term of the settlement. Accordingly, Plaintiffs

respectfully ask the Court to accept the redacted filings as submitted.



                                           1
Case 4:20-cv-00275-SMR-SBJ Document 58 Filed 03/23/22 Page 2 of 3




RESPECTFULLY SUBMITTED AND DATED this 23rd day of March, 2022.

                          BROOKE CHAMPAGNE and MARICO THOMAS,
                          Plaintiffs

                          By: /s/ Alex Kornya
                             Alexander Vincent Kornya, AT#0009810
                             IOWA LEGAL AID
                             1111 9th Street, Suite 230
                             Des Moines, Iowa 50310
                             Telephone: (515) 243-1193
                             Facsimile: (515) 244-4618
                             Email: akornya@iowalaw.org

                             Toby J. Marshall, Admitted Pro Hac Vice
                             936 North 34th Street, Suite 300
                             Seattle, Washington 98103
                             Telephone: (206) 816-6603
                             Facsimile: (206) 319-5450
                             Email: tmarshall@terrellmarshall.com

                             Ericka Petersen, AT#0012347
                             IOWA LEGAL AID
                             1700 South 1st Avenue
                             Iowa City, Iowa 52240
                             Telephone: (319) 351-6570
                             Facsimile: (515) 244-4618
                             Email: epetersen@iowalaw.org

                             Leslie A. Bailey, Admitted Pro Hac Vice
                             John He, Admitted Pro Hac Vice
                             PUBLIC JUSTICE, P.C.
                             475 14th Street, Suite 610
                             Oakland, California 94612
                             Telephone: (510) 622-8203
                             Email: lbailey@publicjustice.net
                             Email: jhe@publicjustice.net



                               2
      Case 4:20-cv-00275-SMR-SBJ Document 58 Filed 03/23/22 Page 3 of 3




                              CERTIFICATE OF SERVICE

      I, Alex Kornya, hereby certify that on March 23, 2022, I electronically filed

the foregoing with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to the following:

             Matthew D. Jacobson
             Peter J. Chalik
             WHITFIELD & EDDY, PLC
             699 Walnut Avenue, Suite 2000
             Des Moines, Iowa 50309
             Telephone: (515) 246-5531
             Facsimile: (515) 246-1474
             Email: jacobson@whitfieldlaw.com
             Email: chalik@whitfieldlaw.com

             Nabil G. Foster, Admitted Pro Hac Vice
             BARRON & NEWBURGER PC
             701 Main Street, Suite 6396
             Evanston Illinois 60204
             Telephone: (312) 767-5750
             Email: nfoster@bn-lawyers.com

             Attorneys for Defendant

      DATED this 23rd day of March, 2022.


                                   By:     /s/ Alex Kornya
                                         Alex Kornya




                                            3
